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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          Criminal No. 04-CR-490 (MJD/JGL)



United States of America,

                      Plaintiff,

v.
                                                             ORDER

Troy James Nadeau,

                      Defendant.


       The above-entitled matter came before the Court pursuant to Defendant’s motion

to enlarge time in which to file objections and position regarding the presentence report

without a hearing. Based upon Defendant’s motion and the Court being fully informed,

       IT IS HEREBY ORDERED Defendant shall have until September 9, 2005 within

which to file objections to the presentence report and until September 16, 2005 to file

Defendant’s position regarding sentencing.


Dated: September 1, 2005                                     s/ Michael J. Davis
                                                             Honorable Michael J. Davis
                                                             United States District Court
